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UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY

United States of America,
Criminal No, 18-703 (MEF)
vv. SEALED

OPINION and ORDER

Michael Healy,

Defendant.

The United States Marshals Service has requested that the
Defendant, Michael Healy, be shackled during (a) trial and (b)
jury selection.

In this District, this is a very rare request. That is as it
should be. The law requires that exceedingly high standards be
met before a defendant is shackled during trial.

The Court has found that those standards are met. Therefore,
the Court has granted the Marshals Service’s request, and has
ordered that the Defendant be shackled.

The reasons for this were sketched out orally in court on
February 27.

The security concerns in play in this case were also discussed
oraliy in court on January 24; the concerns expressed then also
undergird the Court’s shackling decision.

This short Opinion and Order, issued during jury selection, does
not summarize each of the previously-given bases for the Court’s
shackling decision. That is not necessary.

Rather, the Court writes briefly to provide a structured sense
of its thinking and, in some places, to unpack a bit more the
explanations that were orally provided in January and February.

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The Supreme Court has held that “[t]rial courts may not shackle
defendants routinely.” Deck v. Missouri, 544 U.S. 622, 627
(2005). A defendant may be shackled only if the “perils of
shackling are unavoidable.” Id. at 632.

“(U]navoidable” means unavoidable. Shackling must be necessary.
There must be no realistic alternative.

Necessary to what? Shackling must be necessary to an “essential
state interest[{].” Sides v. Cherry, 609 F.3d 576, 580 (3d Cir.
2010). Here, the “essential state interest” is securing the
physical safety of everyone in the courtroom as this trial
unfolds, including witnesses, jurors, lawyers, and court
personnel.

This is, as noted, a high standard. It cannot be met in a
generic, or across-the-board way --- based, for example, on a
presumption that all defendants accused of certain categories of
crimes be shackled.

Rather, the Court must zero in on factual information that is
“specific to [the] trial.” Id. (cleaned up).

Having focused solely on case-specific and defendant-specific
information, the Court must then make particularized factual
findings to support shackling. See Deck, 544 U.S. at 628-29.

All of this is well established.

One piece, though, is not. Namely: it is not clear if the
Court’s factual findings in this area must be made to a
preponderance of the evidence standard, or to the higher clear
and convincing evidence standard.

Given this uncertainty, the Court made its factual findings to
the higher standard, of clear and convincing evidence.

* * *

The Court has before it extensive information about the
Defendant and his activities.

First, there are the various indictments returned by the Grand
Jury.

Second, the record that has been developed in this case is
large. The docket is replete with, among other things, guilty
plea materials and sentencing materials. Together these provide
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information that is extensive and finely detailed. The Court
has reviewed them.

The referenced information has not been offered into evidence at
a trial. And it has neither been subject to cross-examination
by the Defendant’s lawyers nor contextualized by any evidence
the Defendant might opt to offer.

But much of this information is especially reliable.

Plea allocutions, fer example, are sworn statements by a
defendant as te his own conduct, made with assistance of counsel
and under penalty of perjury --- and in an unmistakably
consequential context. Admissions made during plea allocutions
are typically precise. They are anything but casual.

In preparation for this trial, the Court has closely reviewed
the abundant information on the full docket here.

The Court’s conclusion: the record developed to this point
overwhelmingly substantiates the accusations of murder and
narcotics-trafficking described in the Grand Jury’s indictment.

Take one example, of the many that might be offered.

The indictment alleges that the Defendant and another person
(“Person-1"?) worked together to arrange for local gang members
to murder a person (“Murder Victim-1”") who was a narcotics-~
trafficker working under the Defendant and who was (correctly)
believed to be cooperating with law-enforcement. See Second
Superseding Indictment €9 6.f, 8. The killers who were
dispatched accidentally killed the wrong person, called here
Murder Victim-2. See id. at 7 6.f. The Defendant and Person~1
then worked to “finish the job” —--- by dispatching gang members
a few weeks later to kill Murder Victim-1l. Murder Victim-l1 was

killed. Id. at 4 10.

In addition, per the Indictment, the Defendant and Person-1
worked together, themselves, to murder another person (“Murder

| Person-1 is not a cooperating witnesses. He has not provided
assistance or help to the United States. He will not be
testifying at the upcoming trial or any other trial or
proceeding. His sentencing has been scheduled and is coming up
soon. Per his plea agreement, Person-1 faces a sentence of more
than 30 years in prison.
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Victim-3”}) who was thought to be cooperating with law-
enforcement. Murder Victim-3 was killed. See id.

Did all of this happen? There is overwhelming evidence that it
did. Among other evidence, Person-1 admitted to his own role in
the above-described events in his plea allocution.

A third source of information before the Court: the United
States has proffered a good deal of what the trial evidence in
this case will show.

For example, the United States has described in some detail the
expected testimony of four trial witnesses, see The United
States’ February 12 Letter (Docket Entry 244), as well as some
of the expected corroboration of that testimony. See February
27 Hearing Transcript.

The proffered evidence, the Court has held, in the context of an
evidentiary ruling, establishes the direct and active role the
Defendant played in procuring the murder of Murder Victim-1, who
was providing information to law-enforcement. The proffered
evidence makes it clear that the Defendant exercised tight power
over local gangs. At his direction, they murdered someone the
Defendant thought was a cooperating witness (Murder Victim-2)
and, when they killed the wrong person, and murdered some weeks
later the actual cooperating witness (Murder Victim-l).

What emerges from all this is the Defendant’s demonstrated
willingness to use murder to disrupt the truth-seeking process,
and the devotion to him of violent lecal gangs, who are willing
to act, repeatedly, to murder at his behest.

Examples could be multiplied. For instance, there is sufficient
evidence the Defendant ordered a seemingly violent reprimand of
gang members, see The United States’ February 26 Letter (Docket
Entry 265}; Brief in Support of Defendant Michael Healy’s Motion
in Limine at 7 --- which underscores the control he exerts over
lecal gangs.

There is no need to go further. The information before the
Court on the full record of this case supports to the standard
of clear and convincing evidence the following factual findings:

The Defendant was for many years the top leader of a large and
sophisticated narcotics-trafficking organization that moved
large quantities of drugs across the United States to New
Jersey. The organization made routine use of firearms and
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violence. And it acted when necessary through “sets” of local
gangs that are themselves violent, relentless, and
sophisticated. At the Defendant’s direction, the gangs were
dispatched to murder a witness the Defendant believed was
cooperating with law-enforcement. The gangs did so, and kilied
two people in the process. And the Defendant himself
participated in a murder of a person he believed was cooperating
with law-enforcement.

In short: the Court finds that the Defendant has made repeated
and calculated use of murder, with the intent to directly
undermine the truth-seeking process --- in particular, by
preventing cooperating or thought-to-be-cooperating witnesses
from providing information and, eventually, from testifying at a
trial such as this one.

* * *k

The threat ali of this poses to this soon-to-start trial is
acute. And it is amplified in various ways.

First, the United States has made it clear that numerous
cooperating witnesses will be testifying at the trial. Such
witnesses have been targeted repeatedly by people working at the
direction of the Defendant.

Second, a trial can be a nothing-to-lose moment -~-- and ali the
more so here, where the Defendant, the top leader of a
sophisticated and dangerous gang, is facing a mandatory sentence
of life imprisonment if convicted on certain counts. See Brief
ef the United States of America in Support of the Government’s
Pretrial Motions at 106.

Third, the gangs that have acted at the direction of the
Defendant engage in violence in the immediate local area. They
are based in an area that is close-in, around 3.5 or 4.5 miles
from the courthouse. See, e.g., Second Superseding Indictment 1
3. Some of the key locations in this case, including where a
murder took place, are a short (often less than 15 minute) drive
from the courthouse. See, e.g., id. at 7 6.b. One of the key

2 Indeed, in some ways, the Defendant has already disrupted
through violence the trial that is soon to begin. One of the
witnesses will not be able to testify because, the Court has
found, the Defendant had him killed.

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“stash house” locations is a quick walk from the courthouse.
See id.

Fourth, the United States has proffered (orally, on January 24)
that some of the gangs that were enlisted by the Defendant to
undertake murder are “still active in these communities.”
January 24 Hearing Transcript. The Court credits this
conclusion. And there is no reason to think the Defendant’s
long-standing control and influence over the actions of criminal
confederates has been definitively ended by his pre-trial
incarceration. Indeed, the record here establishes that the
Defendant became a gang leader while serving a previous prison
sentence on other charges.

* * *

With all this in the background, the Court has met in person, on
multiple occasions, with senior members of the United States
Marshals Service. The Court has had these meetings recently to
ensure up-to-date perspectives. The purpose of the meetings was
for the Marshals Service to explain the basis of its shackling
request. The information and assessment the Marshals Service
provided was detailed, plainly expert, and up to date. The
senior officials the Court met with were credible and careful.
Their professional opinion was tailored to this case, and it is
that the Defendant needs to be shackled in order to protect the
physical safety of the people in the courtroom during jury
selection and trial.

* * *

Given all of the information that it has in front of it,
including the information sketched out here, the Court finds as
a factual matter, and to a clear and convincing standard, that
shackling the Defendant is necessary to protect the physical
safety of people in the well of the courtroom during both jury
selection and during trial. There is, the Court finds, simply
no alternative.

The specific dangers that, the Court finds, are greatly reduced
by shackling the Defendant do not need to be further elaborated
upon. But is suffices to note that they are the types of
dangers that have been cited by other courts when, based on
case-specific information, those courts have opted to shackle a
defendant. These include, among others, the dangers of third
parties acting at the direction of the Defendant to mount escape
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efforts cr to otherwise seek to disrupt the proceedings through
violence in the courtroom, directed at witnesses or otherwise.
See United States v. Baker, 432 F.3d 1189, 1244 (llth Cir. 2005}
abrogated on other grounds by Davis v. Washington, 547 U.S. 813,
B21 (2006); People v. Boose, 362 N.BE.2@d 303, 305-06 (TI1, 1977),
cited approvingly in United States v. Brantley, 342 F. Appx.
762, 768 n.6,. (3d Cir. 2009). Shackling, among other things,
strongly disincentivizes any such possible third-party action by
making it clear, upfront, that violence will not work.

* * *

The United States Marshals Service’s shackling request, as
noted, has been granted.

This said, the Court will take a series of steps to minimize the
“inherent[] prejudice[e]” to the Defendant from shackling.
Deck, 544 U.S. at 635 (cleaned up}.

First, the Defendant’s hands will not be shackled. Only his
legs. This will provide necessary safety for those in the well
of the courtroom. (The Marshals Service has not sought
shackling of the Defendant’s hands.) And it will allow the
Defendant to comfortably assist his attorneys and to participate
activeiy in his own defense.

Second, the Defendant will be seated next to his attorneys at
counsel table. He will not be seated away from them. This will
also aliow the Defendant to comfortabiy assist his attorneys and
to participate actively in his own defense.

Third, the Defendant’s teg shackles will not be visible to the
jury. How to accomplish this? The Defendant will sit behind a
table that ts equipped with curtains that reach the ground. The
curtains will entirely biock the Defendant’s legs and feet from
view of the jury. The undersigned has sat in each seat in the
Jury box and traced the route the jurors and potential jurors
will take at various moments. Based on this, the Court can
confirm that there is simply no way for a juror or potential
jurer to see the Defendant’s shackled legs behind the table
curtain, from any spot.

Fourth, spectators in the courtroom will themselves not be able
to see the shackles. The undersigned has walked around the back
of the courtroom and, even in an empty courtroom, does not
believe there is any realistic way for spectators to see the
shackles. Moreover, any possible view of the Defendant’s legs

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would, in any event, be blocked because of where Marshals

Service personnel sit. And two specifically-chosen rows of the
courtroom have been marked as reserved, to further ensure that
there are simply no relevant sight-lines for spectators. {And:

the jury will be told in emphatic terms and repeatedly that they
may not discuss this case with anyone, including courtroom
spectators.)

Pifth, the Court was informed that the shackles have been
specially taped, to muffle any sounds. This has been tested and
re-tested by the Defendant before the undersigned. The Court is
satisfied that the shackles as currentiy arranged cannot be
heard just as they cannot be seen.

Sixth, the Defendant has not yet indicated whether he will
testify. If the Defendant does intend to testify, the Court
will closely confer with the parties and the United States
Marshals Service to determine how to allow him to do so without
the jury having any sense that his legs are shackled. (Curtains
will be added before trial to the witness box, so that
witnesses’ feet will not be visible at trial. This will increase
the range of opticns should the Defendant opt te testify.)

Seventh, the Defendant’s shackles --- not visible and not
audible --- will not interfere with his ability to present
himself to the jury in an appropriate manner. The Defendant
wiil be able to wear courtreom clothing. And the Defendant will
be able to rise when calied to do so along with all other people
in the courtroom. It is clear to the undersigned, from a
demonstration done by the Defendant, that there is no way to
hear or see the Defendant's shackles as he stands and sits.

Eighth, pain can become distracting, and a distracted defendant
sometimes cannot participate as effectively in his own defense.
There is no reason to believe the leg shackles here are painful.
The Court asked the Defendant about this before any potential
jurers entered the courtroom and he confirmed the shackles are
not painful.

* * *

The Court has found that shackiing is necessary from a safety
perspective, and has granted the United States Marshals
Service’s shackling request. The Court is confident that the
steps set out above will ensure that shackling does not unduly
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prejudice the Defendant or interfere with his right to a fair
trial.

This said, the Court will be alert to any possible issues that
May emerge. And by this Opinion and Order the attorneys for the
parties are hereby directed to immediately and discretely bring
to the Court’s attention any changed factual circumstances,
including any information that suggests the Defendant’s shackles
are being seen or heard.3

IT IS on this 4th day of March, 2024, so ORDERED.

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Michael E. Farbiarz, U.S.D.d.

3. This Opinion and Order is issued under seal, to ensure it may
be reviewed with any eye to any security or other issues that it
might create. On or before a timeline to be discussed in court,
the parties shall indicate in writing whether this Opinion and
Order should be sealed, and, if so, what the legal basis for
such sealing is. The parties are free to propose that parts of
this Opinion and Order should be sealed and other parts should
be unsealed. In coming to its position, the United States shall
consult with all relevant third parties, including the United
States Marshals Service and, through counsel, with potentially
relevant co-conspirators.
